Case 0:21-cv-61644-AHS Document 5-22 Entered on FLSD Docket 08/09/2021 Page 1 of 5




                      E X H IB IT 19
Case 0:21-cv-61644-AHS Document 5-22 Entered on FLSD Docket 08/09/2021 Page 2 of 5



                                                                           l

         THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION



         In the Matter of :

                                             File No . FL-O4282-A

         MJ CAPITAL FUNDING LLC




         SUBJECT :

         PAGES :     1 through 4




                              AUDIO TRQNSCRIPTION




   18

   19

   20

   21

   22

   23

   24                Diversified Reporting Services ,

   25                                  467-9200

                                       327137 .20210427 .M80 -21
Case 0:21-cv-61644-AHS Document 5-22 Entered on FLSD Docket 08/09/2021 Page 3 of 5



                                                                           2

    l                        P R O C E E D I N    S

    2    www .mjcapitalfunds.com .wav
    3                MALE VOICE : Let me tell you the story of PFR ,

    4    a purchase agreement that produces positive returns on

    5    the future revenues of small and mid-sized businesses.

    6                It all started with John .

    7                One day , John was looking for an opportunity

    8    to create wealth . He looked at the stock market , real

         estate, mutual funds and realized they were not the

   10    right fit for him .

                     Meanwhile , not too far from John was Pablo the

   12    Plumber     And his company was just awarded a $150,000
   13    contract. Pablo's only problem was he needed $50,000 in

   14    upfront working capital to complete the job and get
   15    paid . Pablo has excellent credit but was still denied a

   16    loan at his bank . What can Pablo do?

   17                That was the moment PFR was born . John , meet

   18    Pablo . Pablo , meet John .

   19                John realizes he can purchase a portion of

   20    Pablo's $150,000 contract      the form of $50,000 in
   21    future receivables so that when Pablo gets paid, John

   22    receives the principal of his money back , plus monthly

   23    profits .

   24                Pablo takes the deal. John 's happy .   Pablo 's

   25    happy .

                            (5/6/20211 327137.20210427.M80-21
Case 0:21-cv-61644-AHS Document 5-22 Entered on FLSD Docket 08/09/2021 Page 4 of 5




                                                                           3
       l             You 1re happy because you 're going to start

       2   purchasing PFRS today .

       3             MJ Capital . Purchase future receivables .

       4   Start creating wealth today .

       5             (End of audio .)
       6                             * * * * *

       7

    8

    9

   lO

   l1

   12

  13

  14

  15

  l6

  l7

  18

  l9

  2O

  2l

  22

  23

  24

  25

                           (5/6/20211 327137.20210427.M80-21
Case 0:21-cv-61644-AHS Document 5-22 Entered on FLSD Docket 08/09/2021 Page 5 of 5




                              TRAN SCRIBER IS CERTIFICATE



                  Andrea Johnson, hereby certify that the

                                                       paies
              completez        and accurate transcription           m atters

              contained      the recorded proceedings of the provided
                    indicated :

              www.mjcapitalfunds.com .wav
              in the matter

              MJ CA PITAL FUNDING ,




                                                 5- 6-2021

              T ranscriber
